       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 1 of 9



 1   (Stipulating parties listed on signature page)
 2                               UNITED STATES DISTRICT COURT
 3                            NORTHERN DISTRICT OF CALIFORNIA
 4
                                      SAN FRANCISCO DIVISION
 5

 6
     IN RE CATHODE RAY TUBE (CRT)                     No. 07-cv-5944-SC
 7   ANTITRUST LITIGATION,                            MDL No. 1917

 8
     This Document Relates to:                        STIPULATION AND [PROPOSED]
 9                                                    ORDER EXTENDING THE DEADLINE
     Electrograph Systems, Inc. et al. v.             TO FILE MOTION TO COMPEL
10   Technicolor SA, et al., No. 13-cv-05724;         DIRECT ACTION PLAINTIFFS TO
                                                      RESPOND TO CERTAIN OF THE
11                                                    THOMSON DEFENDANTS’
     Alfred H. Siegel, as Trustee of the Circuit      DISCOVERY REQUESTS
12   City Stores, Inc. Liquidating Trust v.
     Technicolor SA, et al., No. 13-cv-05261;
13                                                    Judge: Hon. Samuel Conti
     Best Buy Co., Inc., et al. v. Technicolor SA,
14   et al., No. 13-cv-05264;
15
     Interbond Corporation of America v.
16   Technicolor SA, et al., No. 13-cv-05727;

17   Office Depot, Inc. v. Technicolor SA, et al.,
     No. 13-cv-05726;
18
     Costco Wholesale Corporation v.
19   Technicolor SA, et al., No. 13-cv-05723;
20
     P.C. Richard & Son Long Island
21   Corporation, et al. v. Technicolor SA, et al.,
     No. 31:cv-05725;
22
     Schultze Agency Services, LLC, o/b/o
23   Tweeter Opco, LLC, et al. v. Technicolor SA,
24   Ltd., et al., No. 13-cv-05668;

25   Sears, Roebuck and Co. and Kmart Corp. v.
     Technicolor SA, No. 3:13-cv-05262;
26
     Target Corp. v. Technicolor SA, et al., No.
27
     13-cv-05686;
28
     STIPULATION AND [PROPOSED] ORDER RE                              No. 07-5944-SC; MDL No. 1917
     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 2 of 9



 1
     Tech Data Corp., et al. v. Hitachi, Ltd., et
 2   al., No. 13-cv-00157;
 3   Sharp Electronics Corp., et al. v. Hitachi,
 4   Ltd., et. al., No. 13-cv-01173.

 5
              Direct Action Plaintiffs Electrograph Systems, Inc.; Electrograph Technologies, Corp.;
 6
     Alfred H. Siegel (as trustee of the Circuit City Stores, Inc. Liquidating Trust); Best Buy Co., Inc.;
 7
     Best Buy Purchasing LLC; Best Buy Enterprise Services, Inc.; Best Buy Stores, L.P.;
 8
     BestBuy.com, L.L.C.; Magnolia Hi-Fi, Inc.; Interbond Corporation of America; Office Depot,
 9
     Inc.;   Costco Wholesale Corporation; P.C. Richard & Son Long Island Corporation; ABC
10
     Appliance, Inc.; MARTA Cooperative of America, Inc.; Schultze Agency Services, LLC, (on
11
     behalf of Tweeter Opco, LLC, and Tweeter Newco, LLC); Sears Roebuck and Co. and Kmart
12
     Corp.; and Target Corp.; Sharp Electronics Corporation and Sharp Electronics Manufacturing
13
     Company of America, Inc., (collectively, “Sharp”); Tech Data Corporation and Tech Data
14
     Product Management, Inc.; (all collectively the “DAPs”) on the one hand, and Thomson S.A.
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     (n.k.a. Technicolor S.A.) and Thomson Consumer Electronics, Inc. (n.k.a. Technicolor USA, Inc.)
16
     (collectively the “Thomson Defendants”) on the other (together, the “Parties”) have conferred by
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     and through their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS
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     FOLLOWS:
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              WHEREAS, on March 21, 2014, the Court entered a scheduling order setting the close of
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     fact discovery for September 5, 2014 (Dkt. No. 2459);
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              WHEREAS, the deadline to file any motion to compel after the discovery cut-off is
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     September 12, 2014 (L.R. 37-3);
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              WHEREAS, on August 1, 2014, the Thomson Defendants served discovery requests on all
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     DAPs, including Thomson SA’s Second Set of Requests for Production, seeking, inter alia,
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     documents reflecting both formal and informal communications between the DAPs and others
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     regarding their intention to exclude themselves from the Direct Purchaser Plaintiff Class in this
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     litigation (the “Opt-Out Discovery Request”);
28
     STIPULATION AND [PROPOSED] ORDER RE                                    No. 07-5944-SC; MDL No. 1917
     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 3 of 9



 1            WHEREAS, on or around September 5, 2014, all DAPs served their responses to the Opt-
 2   Out Discovery Request, which responses included objections on various grounds;
 3            WHEREAS, on September 9, 2014, the Thomson Defendants sent a meet and confer letter
 4   to the DAPs regarding issues with their responses and the Parties have since met and conferred in
 5   a conference call and in subsequent correspondence with a bona fide intent to continue doing so;
 6            WHEREAS, the Thomson Defendants and the DAPs agree to extend the deadline for the
 7   Thomson Defendants to file a motion to compel relating to issues specific to the DAPs’ responses
 8   and objections to the Opt-Out Discovery Request to September 19, 2014;
 9       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between the
10   undersigned counsel that the Thomson Defendants may file a motion to compel on issues specific
11   to the Opt-Out Discovery Request on or before September 19, 2014.
12       The undersigned parties jointly and respectfully request that the Court enter this stipulation as
                                                                                ISTRIC
13   an order.                                                             TES D      TC
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14   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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                                                                             APPRO
16          October 2, 2014




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     Dated:___________________                          ___________________________________
                                                                    Hon. Samuel Conti
17                                                              United States DistrictCJudgeti
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     STIPULATION AND [PROPOSED] ORDER RE                                         No. 07-5944-SC; MDL No. 1917
     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 4 of 9



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     STIPULATION AND [PROPOSED] ORDER RE                           No. 07-5944-SC; MDL No. 1917
     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 5 of 9



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     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 6 of 9



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     STIPULATION AND [PROPOSED] ORDER RE                           No. 07-5944-SC; MDL No. 1917
     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 7 of 9



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     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 8 of 9



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     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
       Case 3:07-cv-05944-JST Document 2886 Filed 10/02/14 Page 9 of 9



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21            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
22   document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER RE                                    No. 07-5944-SC; MDL No. 1917
     EXTENDING THE DEADLINE TO FILE A
     MOTION TO COMPEL
     US.54857980.01
